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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 22-CR-20104-JEM(s)(s)(s)


    UNITED STATES OF AMERICA

    vs.

    RODOLPHE JAAR,

           Defendant.


                  STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

           lf this matter were to proceed to trial , the Government would prove the following facts

    beyond a reasonable doubt. The Parties agree that these facts , which do not include all facts

    known to the Government and the Defendant, RODOLPHE JAAR, are sufficient to prove the

    guilt of the Defendant of the above-referenced Third Superseding Indictment:

           Starting in approximately late May 202 1, JAAR provided material support and resources,

    specifically personnel (himself included), funds , materials, and services, knowing and intending

    that the material support and resources would be used to prepare for and carry out the removal of

    Haitian President Jovenel Moise by kidnapping and/or assassination (the " operation" ), and the

    death of President Jovenel Moise resulted from the operation.

           In particular, among other things, JAAR provided funds that were used in part to acquire

    weapons to facilitate carrying out the operation. JAAR also provided food , lodging, and other

    necessities to various co-conspirators, and JAAR provided funding to bribe certain Haitian

    officials who were responsible for providing security to President Moise so that JAAR' s co-

    conspirators would be able to obtain access to President Moise during the operation.
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             JAAR attended various meetings w ith co-consp irators to di sc uss th e operation. At variou s

    meetin gs, JAAR met with A nto ni o Intr iago (who had traveled to Haiti from the Southern District

    of Florida), James So lages, Joseph Joe l John, Joseph Vincent, Germa n Rivera, and others.        On

    Ju ly 6, 202 1, the ni g ht before the operation , while many of JAAR's co-consp irators, including

    James Solages, Joseph Joel Joh n, Joseph Vincent, Germ an Rivera, and Mario A ntonio Palacios

    Pal ac ios, were staging for the operation at a property contro ll ed by JAAR, James So lages told

    JAA R and others present, in substan ce, that the operation was go ing to res ult in the assassination

    of President Moise.

             On Jul y 7, 2021 , JAAR's co-conspirators entered the presidential residence in Haiti with

    the intent and purpose of killing President Moise, and in fact, the President was killed.         The

    aforementioned criminal acts were calculated to influence and affect the conduct of the Haitian

    government by intimidation and coercion, and JAAR intended to do so.

                                                     MARKENZY LAPOINTE
                                                     UNITED STATES ATTORNEY


    Date:                                   By: ~    ANDREA GOLDBARG
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                                                     ASSIST ANT U.S. ATTORNEY


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